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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §
       v.                                 §       Case No. 4:22-cr-612
                                          §
CONSTANTINESCU, et al.                    §       The Honorable Andrew S. Hanen
                                          §
       Defendants.                        §


                                    [Proposed] ORDER

       Upon consideration of Defendant Constantinescu’s Motion to Dismiss Count Twenty-One

of the Indictment (ECF No. 170) and the United States’ response, the Motion is DENIED.


       It is so ORDERED at Houston, Texas on this ___ day of _____________, 2023.




                                            ________________________________
                                                   ANDREW S. HANEN
                                            UNITED STATES DISTRICT JUDGE
